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     Federal Defender
 2   MEGAN T. HOPKINS, Bar #294141
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 3   Assistant Federal Defender
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     Telephone: (559) 487-5561
 5   Fax: (559) 487-5950
 6   Attorney for Defendant
     CONRADO VIRGEN MENDOZA
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                     Case No. 1:19-cr-00015-DAD-BAM
12                     Plaintiff,                   REQUEST FOR RULE 43 WAIVER OF
                                                    APPEARANCE; ORDER
13    vs.
14    CONRADO VIRGEN MENDOZA,
15                    Defendant.
16
17          Pursuant to Federal Rule of Criminal Procedure 43(b)(3), Conrado Virgen Mendoza,
18   having been advised of his right to be present at all stages of the proceedings, hereby requests
19   that this Court permit him to waive his right to personally appear at the April 22, 2019 trial
20   confirmation hearing.
21          Mr. Virgen Mendoza lives in Chowchilla, California, roughly forty miles from Fresno.
22   Due to his incarceration, Mr. Virgen Mendoza’s family has been without an income since late
23   December 2018. Traveling to Fresno for what the defense anticipates will be a relatively short
24   court appearance will pose a serious financial hardship for Mr. Virgen Mendoza. Accordingly,
25   the defense respectfully requests that the Court waive his appearance at the April 22, 2019 trial
26   confirmation. Mr. Virgen Mendoza agrees that his interests shall be represented at all times by
27   the presence of his attorney, the Office of the Federal Defender for the Eastern District of
28   California, the same as if he were personally present, and requests that this Court allow his
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 1   attorney-in-fact to represent his interests at all times.
 2
                                                     Respectfully submitted,
 3
 4                                                   HEATHER E. WILLIAMS
                                                     Federal Defender
 5
 6   Date: April 17, 2019                            /s/ Erin M. Snider
                                                     ERIN M. SNIDER
 7                                                   Assistant Federal Defender
                                                     Attorney for Defendant
 8                                                   CONRADO VIRGEN MENDOZA
 9
10                                                 ORDER
11           Pursuant to Rule 43(b)(3), defendant’s request for a waiver of his appearance at the April
12   22, 2019 trial confirmation hearing is granted.
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14   IT IS SO ORDERED.
15       Dated:     April 19, 2019
16                                                           UNITED STATES DISTRICT JUDGE

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     Virgen Mendoza Request for Rule 43 Waiver of Appearance
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